     Case 21-14486-abl        Doc 147     Entered 12/03/21 12:48:00        Page 1 of 4



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 5

 6                         UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEVADA
 7
     In re:                                                Case No. 21-14486-abl
 8
                                                           Chapter 7
 9   INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS;                      EX PARTE MOTION FOR ORDER
10                                                         SHORTENING TIME
                               Debtor.
11

12
              ROBERT E. ATKINSON, the appointed trustee of the above-captioned bankruptcy
13
     estate (“Trustee”), hereby moves this Court for entry of an Order Shortening Time to set an
14
     expedited hearing on the Trustee’s MOTION TO (I) APPROVE SALE OF CERTAIN
15
     ASSETS; (II) SET SALE/AUCTION PROCEDURES; AND (III) SET AUCTION HEARING
16
     DATE [DE #145] (the “Motion”).
17
              The Trustee requests that the Motion be heard on shortened time on or before December
18
     22, 2021, or as soon thereafter as possible. The Motion will not be moot after that date, but for
19
     the reasons stated below it should be heard on shortened time.
20
              This motion for shortened time is made pursuant to Rule 9006 of the Federal Rules of
21
     Bankruptcy Procedure, LR 9006, the Attorney Information Sheet filed contemporaneously
22
     herewith, the Declaration of the Trustee (“Trustee Decl.”) contemporaneously filed herewith,
23
     and the Motion itself. The basis for this motion is the following:
24

25   A. Nature of Motion and Proposed Sale; Auction Requested
26            1.     Pre-petition, debtor Infinity Capital Management Inc. (“Debtor”) was engaged

27   in the business of purchasing receivables from medical providers. [Trustee’s Decl. at ¶ 4.]

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     Case 21-14486-abl           Doc 147     Entered 12/03/21 12:48:00    Page 2 of 4



 1
             2.       Creditor HASelect-Medical Receivables Litigation Finance Fund International
 2
     SP (“HASelect”) is a secured creditor of the Debtor. Their pre-petition perfected security
 3
     interest covers all assets of the Debtor. [Id. at ¶ 5.]
 4
             3.       On October 15, 2021, an order was entered in the Bankruptcy Case
 5
     abandoning the Debtor’s interest in certain of Debtor’s collateral, which excluded the
 6
     following portfolio:
 7
                     The Tecumseh Receivables as defined in Tecumseh – Infinity Medical
 8
                      Receivable Fund, LP’s Objection to Joint Motion to Approve Abandonment of
 9                    Collateral [ECF No. 82] and as identified in Exhibit A and, to the extent
                      marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF
10                    No. 59], as well as any records relating exclusively thereto or any proceeds
                      thereof
11

12   (hereinafter, the “Tecumseh Receivables”). [See DE #97]

13           4.       Tecumseh – Infinity Medical Receivable Fund, LP (“Tecumseh”) has asserted
14   in this case that the Tecumseh Receivables are its property, not property of the Bankruptcy
15   Estate. [Trustee’s Decl. at ¶ 6.]
16           5.       On October 19, 2021, HASelect commenced an adversary proceeding against

17   Tecumseh in the District of Nevada (adversary case no. 21-01167) (the “AP Case”) seeking

18   declaratory and injunctive relief regarding the Tecumseh Receivables. On November 19,

19   2021, Tecumseh filed various counterclaims against HASelect and the Trustee in the AP Case

20   seeking declaratory relief concerning ownership of the Tecumseh Receivables.

21           6.       The Tecumseh Receivables have been generating money. The Trustee

22   received the following funds from the Debtor’s principal, which have been deposited into

23   segregated estate bank accounts:

24                   A total of $75,402.85 in checks from certain of the Tecumseh Receivables (the
25
                      “TIF Checks”)

26                   A total of $13,400.00 in checks from certain of the Tecumseh Receivables (the
                      “TIF+HAS Checks”).
27

28   [Trustee’s Decl. at ¶ 7.]



                                                    -2-
     Case 21-14486-abl           Doc 147   Entered 12/03/21 12:48:00        Page 3 of 4



 1
            7.      The Trustee has agreed to sell the following assets (collectively, the “Assets”)
 2
     to HASelect, on the terms and conditions contained in the Asset Purchase Agreement attached
 3
     as Exhibit 1 to the Motion (the “APA”):
 4
                       Whatever interest the Bankruptcy Estate has (if any) in the Tecumseh
 5
                        Receivables (inclusive of the $75,402.85 in monies from the TIF Checks,
 6                      and the $13,400.00 in monies from the TIF+HAS Checks), subject to the
                        rights, title, and interests that Tecumseh may have in this property, if any.
 7
                       All claims and causes of action that could be brought by the Trustee or the
 8
                        Bankruptcy Estate against any third party relating in any way to the
 9                      Tecumseh Receivables, pursuant to (i) chapter five of title 11 of the United
                        States Code, or (ii) all applicable or relevant state or federal laws
10                      (collectively, the “Claims”). For avoidance of doubt, the Claims include,
                        but are not limited to, all causes of action that could be brought by the
11
                        Trustee pursuant to Sections 542, 543, 544, 545, 547, 548, 549, 550, 551,
12                      552, and 553 of the United States Bankruptcy Code for any matter relating
                        in any way to the Tecumseh Receivables.
13
                       All books and records related to the foregoing that the Bankruptcy Estate
14
                        currently has in its possession.
15
     [Trustee’s Decl. at ¶ 8.]
16
            8.      The APA is contingent upon Bankruptcy Court approval. [Id. at ¶ 9.]
17
            9.      The purchase price for the Assets is $100,000.00 (“Initial Purchase Price”).
18
     That amount is subject to overbid at auction, to be held by the Bankruptcy Court. HASelect is
19
     aware that an auction will be held to identify any possible overbids. [Id. at ¶ 10.]
20
            10.     The Motion also requests that the Court set certain auction procedures, and set
21
     an auction hearing date and time. [Id. at ¶ 11.]
22

23   B. Basis for Shortened Time
24          11.     Sound basis exists for the Motion to be heard on shortened time. Specifically,
25   the Court has heard several times in this case so far that the Tecumseh Receivables are or will
26   be a “melting ice cube”. Although the Trustee does not believe that any wasting of that asset
27   has yet occurred – it’s been only 11 weeks since the Petition Date – Tecumseh has expressed
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                                                  -3-
     Case 21-14486-abl       Doc 147      Entered 12/03/21 12:48:00        Page 4 of 4



 1
     concerns that further delay without servicing will be detrimental. [Id. at ¶ 12.] Having the
 2
     auction as soon as possible will address these concerns.
 3
            12.     Based upon the foregoing, it is respectfully submitted that good cause exists for
 4
     granting an order shortening time.
 5
            WHEREFORE, the Trustee respectfully requests that this Honorable Court issue an
 6
     order shortening time so that the Motion can be heard in a timely manner.
 7

 8   DATED: December 3, 2021                      ATKINSON LAW ASSOCIATES LTD.
 9
                                                  By:          /s/ Clarisse L. Crisostomo
10                                                      CLARISSE L. CRISOSTOMO, ESQ.
                                                        Nevada Bar No. 15526
11                                                      Attorney for Robert E. Atkinson, Trustee
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